Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.263   Page 1 of 17




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


FRANCINE ZYSK,
                                               Case No. 18-10639
      Plaintiff,
v.                                             Hon. Robert H. Cleland

THERESA M. BRENNAN, in her
individual and official capacities,

      Defendant.


 FETT & FIELDS, P.C.                   SEWARD HENDERSON PLLC
 By: James K. Fett (P39461)            By: T. Joseph Seward (P35095)
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      DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR DISCOVERY
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.264   Page 2 of 17




      NOW COMES Defendant, THERESA M. BRENNAN, by and through her

attorneys, SEWARD HENDERSON PLLC, and in response to Plaintiff’s Motion

for Discovery states as follows:

      1. Admitted that this Court’s practice guidelines correctly state that

         Fed. R. Civ. P. 26(d) does not authorize court sanctioned discovery

         prior to the initial attorney conference.

      2. Admitted that the parties have not conferred under Fed. R. Civ. P.

         26(f) because there is a pending motion to dismiss, further stating

         that this precludes Plaintiff from seeking “discovery from any

         source.” Fed. R. Civ. P. 26(d)(1).

      3. Admitted that Plaintiff erroneously served subpoenas on third

         parties, in violation of Fed. R. Civ. P. 26(d)(1), and that Defendant

         brought this violation of the rules of civil procedure to Plaintiff’s

         attention. [Exhibit 1 – August 13, 2018 E-mail to Plaintiff’s Counsel]

      4. Admitted that Plaintiff withdrew the subpoenas after Defendant

         specifically pointed out the language of Fed. R. Civ. P. 26(d)(1)

         stating discovery may not be sought from any source prior to a Rule

         26(f) conference and Defendant did not concur on a motion for

         discovery.
                                       2
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.265   Page 3 of 17




      5. Admitted that Plaintiff is bringing this motion pursuant to the

         Court’s practice guidelines, further stating that Plaintiff cites no

         legal basis for her request and the language of the practice

         guidelines correctly state that the Court is not authorized to

         sanction discovery prior to the initial attorney’s conference, which

         has not taken place in this matter.

      6. Admitted that Plaintiff is requesting that this Court order discovery

         without oral argument, further stating that this Court should enter

         an order denying Plaintiff’s motion.

                                    Respectfully submitted,

                                    SEWARD HENDERSON PLLC

                                     /s/ T. Joseph Seward (P35095)
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                                      3
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.266   Page 4 of 17




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


FRANCINE ZYSK,
                                               Case No. 18-10639
      Plaintiff,
v.                                             Hon. Robert H. Cleland

THERESA M. BRENNAN, in her
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               BRIEF IN SUPPORT OF DEFENDANT’S RESPONSE TO
                     PLAINTIFF’S MOTION FOR DISCOVERY
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18                                  PageID.267          Page 5 of 17




                                             TABLE OF CONTENTS

Index of Authorities ............................................................................................... ii

Most Controlling Authorities .............................................................................. iii

Issues Presented .................................................................................................... iv

Introduction .............................................................................................................1

Statement of Facts ...................................................................................................1

Law and Argument.................................................................................................3

   I. Immunity Issues Should Be Resolved Before Discovery .........................3

   II. Plaintiff Has Not Established Good Cause to Begin Discovery .............4

Conclusion................................................................................................................8




                                                             i
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18                                 PageID.268          Page 6 of 17




                                     INDEX OF AUTHORITIES

Cases

Harlow v. Fitzgerald,
 457 U.S. 800 (1982) ...............................................................................................3

In re Paradise Valley Holdings, Inc.,
  No. 03-34704, 2005 WL 3841866 (Bankr. E.D. Tenn. Dec. 29, 2005) ..........5, 6

Lashuay v. Delilne,
  No. 17-CV-13581, 2018 WL 317856 (E.D. Mich. Jan. 8, 2018).........................5

Meritain Health Inc. v. Express Scripts, Inc.,
 No. 4:12-CV-266 CEJ, 2012 WL 1320147 (E.D. Mo. Apr. 17, 2012)............6, 7

Siegert v. Gilley,
  500 U.S. 226 (1991). ..............................................................................................3

Skousen v. Brighton High Sch.,
  305 F.3d 520 (6th Cir. 2002).............................................................................3, 4

Vaughn v. U.S. Small Bus. Admin.,
 65 F.3d 1322 (6th Cir. 1995).................................................................................3

Yokohama Tire Corp. v. Dealers Tire Supply, Inc.,
 202 F.R.D. 612 (D. Ariz. 2001) ............................................................................6

Rules

Fed. R. Civ. P. 26 ......................................................................................................4




                                                           ii
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.269   Page 7 of 17




                  MOST CONTROLLING AUTHORITIES

   • Harlow v. Fitzgerald, 457 U.S. 800 (1982)

   • Lashuay v. Delilne, No. 17-CV-13581, 2018 WL 317856 (E.D. Mich. Jan.
     8, 2018)




                                     iii
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.270   Page 8 of 17




                            ISSUES PRESENTED

   I.    Whether Plaintiff’s motion for discovery should be denied because
         this Court has not yet ruled on the immunity issues raised in
         Defendant’s motion to dismiss?

         Defendants state                   “Yes”

         Plaintiff presumably states        “No”


   II.   Whether Plaintiff has established good cause to begin discovery
         before the Rule 26(f) conference has been held in this matter?

         Defendants state                   “No”

         Plaintiff presumably states        “Yes”




                                       iv
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.271   Page 9 of 17




                            INTRODUCTION

      Plaintiff attempted to begin discovery by serving subpoenas on non-

parties in this matter before a Rule 26(f) conference occurred. After

withdrawing the subpoenas when Defendant pointed out the violation of

the federal rules of civil procedure regarding early discovery, Plaintiff filed

the instant motion. Plaintiff does not rely on any legal basis for her motion,

merely citing an expectation contained within this Court’s practice

guidelines. This Court should deny the motion.


                         STATEMENT OF FACTS

      Plaintiff commenced this action on February 23, 2018. [Dk. 1]. On

March 29, 2018, Defendant filed a Motion to Strike portions of Plaintiff’s

complaint, and subsequently filed a Motion to Dismiss on March 30, 2018.

[Dk. 7, Dk. 8]. A hearing on both motions was set for May 16, 2018. [Dk. 9].

Subsequently, the Court cancelled the hearing date, stating that the motions

would be decided on the briefs. [ECF Dated May 10, 2018].

      Out of the blue, Plaintiff issued subpoenas to the Livingston County

Circuit Court Clerk and Livingston County Clerk on August 8, 2018,

requesting various records. [Exhibit 2 – Subpoenas]. After receiving copies


                                      1
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18      PageID.272   Page 10 of 17




 of the subpoenas, Defendant e-mailed Plaintiff’s counsel to indicate that

 issuing the subpoenas was a violation of Fed. Civ. P. 26(d)(1), that the

 subpoenas had not been served on Defendant before serving the non-parties,

 and if the subpoenas were not withdrawn a motion to quash and request for

 sanctions would result. [Exhibit 1 – August 13, 2018 E-mail to Plaintiff’s

 Counsel]. Plaintiff’s counsel agreed to withdraw the subpoenas and asked if

 Defendant would be willing to concur on a motion to begin early discovery,

 which Defendant rightfully declined to do.

        On August 13, 2018, Plaintiff’s counsel also filed a Certificate of Service

 pertaining to Subpoenas to Produce Documents. [Exhibit 3 – Notice of

 Filing]. That same day, the Court struck the document because it was

 “prohibited discovery, disclosure or a certificate thereof.” [ECF Dated

 August 13, 2018]. Subsequently, Plaintiff filed the instant motion, without a

 brief, asking that discovery begin “since the Court’s practice guideline

 indicates that the Court expects the parties to conduct early discovery.” [Dk.

 17].




                                         2
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18     PageID.273   Page 11 of 17




                            LAW AND ARGUMENT

    I.     Immunity Issues Should Be Resolved Before Discovery

         “One of the purposes of immunity, absolute or qualified, is to spare a

 defendant not only unwarranted liability, but unwarranted demands

 customarily imposed upon those defending a long drawn out lawsuit.”

 Siegert v. Gilley, 500 U.S. 226, 232 (1991). This includes preventing the cost of

 “broad-ranging discovery.” Harlow v. Fitzgerald, 457 U.S. 800, 817 (1982). In

 order “to avoid imposing needless discovery costs” the issue of immunity

 must be addressed early on in litigation. Vaughn v. U.S. Small Bus. Admin., 65

 F.3d 1322, 1326 (6th Cir. 1995) (citations omitted).

         In Skousen v. Brighton High Sch., 305 F.3d 520, 527 (6th Cir. 2002), the

 district court dismissed a motion for summary judgment based on qualified

 immunity because discovery was not complete. The Sixth Circuit held that

 the district court was required to rule on the motion before permitting

 further discovery. Id. In reaching that conclusion, the Court recognized that

 the “philosophy” behind the doctrine of qualified immunity was the “desire

 to avoid the substantial costs imposed on government, and society, by

 subjecting officials to the risks of trial.” Id. at 526 (quoting Vaughan, 65 F.3d

 at 1326). Additionally, the Court noted that immunity must be determined

                                         3
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18    PageID.274   Page 12 of 17




 early in litigation to prevent “imposing needless discovery costs.” Id. As

 such, before permitting any further discovery, the Court had to first make a

 determination regarding the immunity issue. Id. at 527.

          In this case, Defendant has asserted that she is entitled to judicial

 immunity, that no constitutional violation occurred, and that she is entitled

 to governmental immunity regarding Plaintiff’s defamation claim. In fact,

 the motion to dismiss filed by Defendant addresses each of these issues, and

 it is still pending before the Court. The purpose of such immunities is to

 prevent those entitled to it from having to unnecessarily devote resources

 toward litigation. Allowing discovery to begin at this juncture of the

 litigation, without the Court having ruled on the immunity issues, would

 only serve to undermine this purpose. Therefore, Plaintiff’s motion should

 be dismissed.

    II.     Plaintiff Has Not Established Good Cause to Begin Discovery

          Pursuant to Fed. R. Civ. P. 26(d)(1), parties “may not seek discovery

 from any source before the parties have conferred as required by Rule 26(f),

 except in a proceeding exempted from initial disclosure under Rule

 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court

 order.” For requests pertaining to early discovery, a “good cause” standard
                                         4
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18     PageID.275   Page 13 of 17




 is employed by the Court. Lashuay v. Delilne, No. 17-CV-13581, 2018 WL

 317856, at *3 (E.D. Mich. Jan. 8, 2018) (citing 8A Charles Alan Wright and

 Arthur R. Miller, 1993 Discovery Moratorium Pending Discovery Plan, Fed.

 Prac. & Proc. Juris. § 2046.1 (4d ed.)) [Attached as Exhibit 4].

       In Lashuay, Plaintiff asked the Court for discovery to begin before the

 parties conferred under Fed. R. Civ. P. 26(f) by allowing Plaintiff to take a

 deposition and issue subpoenas in order to identify parties. Id. at 4. Plaintiff

 contended that this information was necessary because he believed there

 may be some urgency regarding the statute of limitations for his claims. Id.

 The Court denied the motion, finding that Plaintiff had not met the good

 cause standard for early discovery. Id.

       The Court recognized that good cause may exist when “a plaintiff’s

 need for expedited discovery outweighs the possible prejudice or hardship

 to the defendant.” Id. at *3 (quoting a In re Paradise Valley Holdings, Inc., No.

 03-34704, 2005 WL 3841866, at *2 (Bankr. E.D. Tenn. Dec. 29, 2005) [Attached

 as Exhibit 5]). Moreover, good cause is usually only found when a case

 involves “requests for injunctive relief, challenges to personal jurisdiction,

 class actions, and claims of infringement and unfair competition.” Id. The



                                        5
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18      PageID.276   Page 14 of 17




 Court also looked to various factors that may be utilized to determine if good

 cause exists, including:

       (1)   irreparable injury;

       (2)   probability of success on the merits;

       (3)   connection between the discovery sought and avoidance of the

             irreparable injury;

       (4)   evidence of injury without the discovery being greater than the

             injury suffered by defendant if the relief is granted;

       (5)   whether there is a pending preliminary injunction;

       (6)   how broad the discovery request is;

       (7)   the purpose for requesting the discovery;

       (8)   the burden on defendants to comply;

       (9)   how far in advance the request is being made from the normal

             discovery process;

 Id. at *3-*4 (citing Yokohama Tire Corp. v. Dealers Tire Supply, Inc., 202 F.R.D.

 612, 613 (D. Ariz. 2001); Meritain Health Inc. v. Express Scripts, Inc., No. 4:12-

 CV-266 CEJ, 2012 WL 1320147, at *2 (E.D. Mo. Apr. 17, 2012) [Attached as

 Exhibit 6]).



                                         6
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18     PageID.277   Page 15 of 17




       In applying these factors, the Court found there was “no motion for a

 preliminary injunction pending, no challenge to personal jurisdiction, no

 class action claims, and no allegations of infringement or unfair

 competition.” Id. at *4. In fact, the only “irreparable injury” that Plaintiff

 could identify was his statute of limitations concern, and the Court found no

 indication that the deadline was imminent. Id. As such, Plaintiff failed to set

 forth good cause. Id.

       In this case, Plaintiff has set forth no reason to establish any cause, let

 alone good cause, for discovery to begin before the Rule 26(f) conference.

 Plaintiff cannot identify any type of “irreparable injury” that will result from

 having discovery begin according to its usual timeline. In fact, Plaintiff

 merely relies on the Court’s “expectation” that discovery will begin before

 the Rule 26(f) conference in support of her motion. There are also no motions

 for preliminary injunctions pending, no challenges to personal jurisdiction,

 no class action claims, nor any allegations of infringement or unfair

 competition in this matter.

       The prejudice and burden placed on Defendant would be great if

 discovery was allowed to begin at this point. Defendant has a Motion to

 Strike and Motion to Dismiss pending with the Court. If discovery were to
                                        7
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18   PageID.278   Page 16 of 17




 start, Defendant would be exposed to spending a significant amount of time

 and resources in responding to Plaintiff’s discovery requests, all of which

 may become moot depending on the Court’s decision on the motions.

 Therefore, this Court should deny Plaintiff’s Motion for Discovery.


                             CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiff’s Motion

 for Discovery.

                                    Respectfully submitted,

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                                      8
Case 3:18-cv-10639-RHC-SDD ECF No. 18 filed 09/25/18    PageID.279   Page 17 of 17




                         CERTIFICATE OF SERVICE

             I hereby certify that I electronically filed the foregoing and
       this Certificate of Service with the Clerk of the Court, using the
       Court’s E-filing system that will send notification to all counsel
       of record, on September 25, 2018.

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                                        9
